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Heinrich & Elisabeth Soeker
47 Avonwood Road_ Unit 211
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April 23, 2025

Hon. Jil Mazer-Marino

U.S. Bankruptcy Court, EDNY

Conrad B. Duberstein Courthouse
271-C Cadman Plaza East — Suite 1595
Brooklyn, NY 11201-1800

RE: Case Number: 1-25-41368-jmm
Debtor Listed: Avon Place LLC

Hon. Jil Mazer-Marino;

| am 93 years old & my wife is 90. We have lived in Bldg 47, Unit 211, first as
sub-letters, then condo owners for 30yrs; & the past 2 years, as tenants.

My daughter is writing this letter, as we are not able to. We do not like to cause
trouble or complain. We are not those kind of people, and are not in any kind of
position to be ‘retaliated’ against.

Avon Place has ALWAYS been a lovely place to live in, but for at least the past 18
months, we have noticed a drastic change in the neglect of maintenance, inside
our building, the exterior, the grounds & roadways.

My wife & | have complained of white substances on the carpeted steps on an
inside staircase, for months. We were told numerous times that it had been
cleaned up, but it had not been. We were concerned a child or pet may ingest it &
jt be harmful to them. It was finally addressed months later.

We have complained numerously, about 3 units adjacent to each other, leaving yy
their doormats, shoes & carts in the hallway... a fire hazard. My wife has to
maneuver her ‘walker ‘to get to the mail & laundry room... not to mention if there is
a fire.

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Elevator issues occur often & this last time, the elevator was unavailable for 6
weeks. My wife had to carry her walker up & down the stairs the entire time.

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We've seen a mother with 3 very young children & groceries, STRUGGLING on
the stairs to the 3" floor; & unable to help her, because of our age.

The lights... oh yes the lights, what lights? 90% of the time, the lights up long,
steep drive, up to the complex, in the woods... are not turned on. As they are not
on around the complex’s roadways. Walking a dog is literally risking a severe

injury or worse if it’s winter & no one finds you.

The continuing ‘pot hole’ situation has been getting worse by the day, very very
soon we will not be getting through the road at all. The ‘pot holes’ are deep &

close together.

There has been an increased problem with tenants, maintenance, &/or visitors,
‘propping’ open the exterior doors, just enough so they don’t lock closed; exposing
all tenants to a dangerous security risk, for selfish convenience. Avon Place
places no concern with this, which could be remedied with security cameras.

We lease a 3" floor storage unit, which we visit infrequently. We found a lock on
it, not knowing how long it had been on for. We were told, they had no idea who
put it there, “maybe another tenant?” Yes, people put locks on stranger's doors,
that are already locked, without knowing what's inside... right. Within a couple of
hours, the lock was off, with NO indication of it having been forced off.

Our unit’s Furnace Filter has not been changed in at least 5yrs. About a year ago,
my wife made the Avon Place office aware of this, stating it needed to be
replaced. It has yet to be... & is most likely a fire hazard, as it seems to be what
caused the massive fire in Bldg 44, which devastated all the tenants who lived

there.

Lastly, we have NO documentation that ‘our $1500. Security Deposit is in an
Escrow account. Avon Place has a history of NOT using ‘tenants’ Security
Deposits to address an ‘itemizes’ list of damages left by their moving out; but

instead, treats ‘tenants monies’ as a bonus to themselves.

We have tried to keep this as short as possible. And we most sincerely appreciate
your considerations in all we have expressed to you.

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Heinrich Soeker Elisabeth Soeker Monika Soker
845.238.7623

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